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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

SAM and TONY M., et al.,                           )
                                                   )
          Plaintiffs,                              )
                                                   )
v.                                                 )
                                                   )              Class Action
DONALD L. CARCIERI, in his official                ) Civil Action No. 1:07-cv-00241-L-LDA
capacity as Governor of the State of               )
Rhode Island, et al.,                              )
                                                   )
          Defendants.                              )
                                                   )


                                  INDEX OF EXHIBITS

Exhibit            Description

1                  Jametta O. Alston Declaration

2                  Appendix

3                  Olivia Y. v. Barbour, No. 3:04CV251LN, slip op. (S.D. Miss. Mar. 11,
                   2005)

4                  Title IV-E Program Instruction ACYF-CB-PI-07-02, Attachment B –
                   Title IV-E State Plan Pre-Print, issued Jan. 23, 2007.

5                  Douglas v. N.H. Sup. Ct. Prof’l Conduct Comm., 187 F.3d 621 (1st Cir.
                   1998) (unpublished table decision)

6                  Joseph A. v. N.M. Dep’t of Human Servs., Civ. 80-623 JC/DJS, slip op.
                   (D.N.M. Jan. 16, 2003)

7                  Olivia Y. v. Barbour, No. 3:04CV251LN, slip op. (S.D. Miss. Aug. 29,
                   2006)

8                  R.C. v. Hornsby, No. 88-D-1170-N, slip op. (M.D. Ala. Apr. 19, 1989)
